         Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 1 of 18




December 15, 2022                                                        VIA CM/ECF FILING

The Honorable James Donato
San Francisco Courthouse, U.S. District Court
450 Golden Gate Avenue, Courtroom 11 —19th Floor
San Francisco, CA 94102

Re:    Discovery Letter Brief to Compel Production from Apple Inc.

Dear Judge Donato:
        Consumer Plaintiffs (“Consumers”) move to compel production from non-party Apple Inc.
Consumers subpoenaed Apple on April 6, 2022. Consumers and Apple have conferred five times,
most recently on December 1, 2022, and have exchanged multiple rounds of correspondence,
where Consumers narrowed many of the requests. Yet Apple objects that its documents are
irrelevant to this case, and even if they are relevant, it is too burdensome to even discuss the
possibility of searching for them. Apple refuses to search the documents of any custodian in
response to Consumers’ requests. To date, Apple has produced 24 documents in response to
Consumers’ subpoena—23 of which are screenshots of Apple’s publicly available website.
Consumers file this letter to compel production of four categories of documents: (1) Apple’s App
Tracking Transparency feature (“ATT”) (RFPs 6, 8), (2) the 2019 Sun Valley meeting between
Tim Cook and Mark Zuckerberg (RFP 10), (3) Apple’s review, evaluation, and analysis of
Facebook’s data collection and use practices (RFPs 3-5), and (4) Apple’s review, evaluation, and
analysis of Facebook’s services that compensate users for their data (RFP 10).
        Apple’s documents are relevant. The Consumer Class consists of individuals that have
used Facebook. Apple acts as a gatekeeper to Facebook through Apple’s App Store, devices
(iPhone, iPad, Mac), and browser (Safari), necessarily influencing these users’ (i.e., Consumer
Class members’) use and experience of Facebook in ways critical to this case. For example, during
the class period Apple controlled device-identification tracking, which was central to Facebook’s
ability to harvest data on users and deliver personalized ads. Apple often inserts itself into the
public debate on privacy and data issues, positioning itself in opposition to Facebook.1
        (1) App Tracking Transparency is an Apple feature that permits users to choose whether
an app (like Facebook) can track their activity across other apps and websites—exactly the kind
of data practice at issue in this case. ATT strikes at the heart of Facebook’s business model, and
indeed directly caused $10 billion in lost sales.2 Facebook admitted in its most recent SEC filing
that the change in Apple’s tracking policies: “reduce[d] our . . . ability to target and measure
advertising, which has negatively impacted, and we expect will continue to negatively impact, the
size of the budgets marketers are willing to commit to us.”3 Apple’s launch of ATT appears to be
an almost perfect natural experiment demonstrating that if users were given the knowledge and
choice to prevent Facebook from collecting and using their data, they would—and Facebook’s

1 See, e.g., Kate O’Flaherty, Apple Slams Facebook And Google With Bold New Privacy Ad,
FORBES (May 25, 2022), https://www.forbes.com/sites/kateoflahertyuk/2022/05/25/apple-slams-
facebook-and-google-with-bold-new-privacy-ad/?sh=53e3c8233287.
2 Meghan Bobrowsky, Facebook Feels $10 Billion Sting From Apple’s Privacy Push, WALL ST.
J. (Feb. 3, 2022), https://www.wsj.com/articles/facebook-feels-10-billion-sting-from-apples-
privacy-push-11643898139 (citing Facebook CFO David Wehner).
3 See Meta Platforms, Inc., Quarterly Report (Form 10-Q) (Sept. 30, 2022) at 64.
         Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 2 of 18




monopoly would not exist as it does today, and Facebook would have to provide compensation for
users’ data. Consumers seek Apple’s documents relating to (a) ATT’s origins, intent, purpose,
motivations, and/or strategies (RFP 6), and (b) the dollar value of data as shown by Facebook’s
representations, discussions, or threats of legal or other punitive action related to ATT (RFP 8).
        Each of these categories of documents is relevant. First, if Apple developed ATT because
it recognized there is consumer demand for such a tool, that would tend to establish users care
about collection and use of their data. See ECF No. 214 at 64 (whether “data privacy practices”
are material is an element of Consumers’ antitrust claim). Additionally, researchers found
Facebook and others “have been allowed to keep sharing user-level signals from iPhones,” despite
ATT’s promises of privacy.4 Apple’s internal evaluation of the success or failure of Facebook’s
efforts to continue gathering data is directly relevant to Consumers’ claims about Facebook’s
misrepresentations to users regarding its practices of collecting their data. Second, documents
regarding the dollar value of data relate to Consumers’ allegations that user data has monetary
value and absent Facebook’s monopolization, Facebook would have had to provide compensation
for users’ data. Apple appears to have documents supporting this claim, and it should be required
to produce them. For example, Apple’s ATT promotional materials state “data” is “fueling a $227
billion-a-year industry.” Third, ATT participation rates are relevant to Consumer’s claim that users
care about collection and use of their data.
       Apple argues Consumers should get such information from public sources or from
Facebook itself. But the information Consumers seek is not available publicly or from Facebook.
Neither have documents reflecting why Apple developed and implemented ATT; nor do they
possess documents regarding Apple’s views on the multi-billion-dollar data “industry.”
         (2) Documents relating to the 2019 Sun Valley Meeting between Tim Cook and Mark
Zuckerberg are relevant to establishing whether Facebook’s statements as to its data practices were
deceptive or omitted material information. ECF No. 214 at 54–57 (falsity of Facebook’s statements
is an element of Consumers’ antitrust claim). They also tend to establish only a sophisticated entity
like Apple—not everyday individuals (Consumers)—could even possibly begin to uncover
Facebook’s deception. Id. at 59 (Facebook’s “false representations . . . could not have been
revealed by anybody without significant technical expertise” is an element of Consumers’ antitrust
claim). Reportedly, at this meeting Mr. Cook “blasted” Facebook for its role in the Cambridge
Analytica scandal, stated that “Facebook should delete any information that it collected about
people outside of its core apps,” and told Mr. Zuckerberg that his core business was untenable.5
Consumers seek Apple’s documents reflecting this meeting, including what was said during it and
by whom. Such documents bear on the facts underlying the Cambridge Analytica scandal, such as
the basis for Mr. Cook’s belief that Facebook had engaged in data-related misconduct.
       Consumers cannot obtain from public sources Apple’s documents related to this meeting.
Nor can they obtain these materials from Facebook, whose recounting of the meeting may well be

4 Patrick McGee, Apple Reaches Quiet Truce Over iPhone Privacy Changes, FINANCIAL TIMES
(Dec. 8, 2021), https://www.ft.com/content/69396795-f6e1-4624-95d8-121e4e5d7839; see also
Sarah Krouse & Josh Sisco, Apple’s Empty Threat? Silence Over iPhone Ad Workarounds Sows
Confusion, THE INFORMATION (Dec. 10, 2021), https://www.theinformation.com/articles/apples-
empty-threat-silence-over-iphone-ad-workarounds-sows-confusion.
5 Mike Isaac and Jack Nicas, Breaking Point: How Mark Zuckerberg and Tim Cook Became
Foes, N.Y. TIMES (Apr. 26, 2021), https://www.nytimes.com/2021/04/26/technology/mark-
zuckerberg-tim-cook-facebook-apple.html.



                                                 2
         Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 3 of 18




different than Apple’s. Due to the extremely specific nature of this request, it would be a simple
matter to find responsive documents through meeting attendees, date range, or targeted and
specific search strings. But Apple has so far refused to run even a single search string on this topic.
        (3) Apple’s evaluation, and discussion of Facebook’s data collection and use practices are
relevant to Consumers’ antitrust claims, which are based on Facebook’s deceptive statements and
omissions as to its data practices. Apple has repeatedly commented publicly on Facebook’s
practices, including that users’ data is used “often without their knowledge or permission” and that
Facebook “paid millions in fines for using personal data for purposes outside those they had
specified.” E.g., “A Day in the Life of Your Data” presentation (link) at 3, 5, 13 (referencing
articles about Facebook). Consumers seek documents from Apple regarding the bases for Apple’s
comments, i.e., its review, analysis, and discussion of Facebook’s data collection and use practices.
        Consumers have limited their request to three incidents, Facebook’s: (a) 2011 consent
decree with the FTC, (b) exchange of user data with third parties (including Apple), and (c) 2019
consent decree with the FTC. Apple apparently believes Facebook engaged in deception as to its
data practices. Apple should produce evidence supporting those views, which would tend to
establish Facebook’s deception. Apple’s documents also tend to establish only a sophisticated
entity—not everyday individuals like Consumers—could have uncovered Facebook’s deception.
       (4) Documents related to Facebook’s programs that compensate users for their data are
relevant to Consumers’ damages theories. Consumers allege that in the but-for world, Facebook
would have been required to compensate users for their data. In the actual world, Facebook has
already monetarily compensated users for their data through its Research, Study, and Viewpoints
apps. Apple’s analysis of these Facebook programs bears on, at least, Consumers’ claim Facebook
could have feasibly compensated users for their data. Apple’s position in the market where it hosts
these apps on the App Store also suggests that Apple is likely to possess unique documents,
including discussion of Facebook’s requests to list or maintain these apps in the App Store.
        Apple’s vague offer to produce only “correspondence” with Facebook as to “enforcement
decisions” for Facebook Blue (the social network) and other Facebook family apps is insufficient.
It does not at all address Consumers’ specific request for documents related to Facebook’s data
compensation apps, Research, Study, and Viewpoints. Producing only bilateral Facebook-Apple
communications would also exclude (for no reason) Apple’s unique, internal documents which do
not include Facebook. Consumers also seek Apple’s review and analysis of Facebook’s data
compensation services and proposals, not just Apple’s “enforcement decisions” as to other
Facebook apps (i.e., whether those other apps did or did not comply with Apple’s App Store rules).
         Apple cannot plausibly claim undue burden. With a market cap of $2.3 trillion, Apple
Inc. is the largest tech company in the world. But even setting this aside, Consumers have proposed
multiple methods of reducing the burden on Apple, including the use of limited search terms and
custodians. Apple is routinely required to produce, as a non-party, custodial documents in antitrust
cases. FTC v. Qualcomm Inc., No. 17-cv-00220 (N.D. Cal.), Dkts. 445-1 and 663 (45 custodians);
United States v. Google LLC, No. 1:20-cv-03010 (D.D.C.), Dkt. 177 (19 custodians). Other non-
parties are doing so in this case. Apple has failed to articulate any particularized burden, such as
any estimation of a dollar cost or personnel hours. Belcher v. Lopinto, 2019 WL 12093916, at *4
(E.D. La. Dec. 23, 2019). This, despite agreeing to search three custodians for documents in
response to requests from Facebook. Consumers request that the Court order Apple to conduct a
reasonable search for documents responsive to the categories set forth above.




                                                  3
        Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 4 of 18




DATED: December 15, 2022                  Respectfully submitted,

By /s/ Shana E. Scarlett                  By /s/ Kevin Y. Teruya
HAGENS BERMAN SOBOL SHAPIRO LLP           QUINN EMANUEL URQUHART & SULLIVAN, LLP
Shana E. Scarlett (Bar No. 217895)        Kevin Y. Teruya (Bar No. 235916)
 shanas@hbsslaw.com                       kevinteruya@quinnemanuel.com
715 Hearst Avenue, Suite 202              Adam B. Wolfson (Bar No. 262125)
Berkeley, CA 94710                        adamwolfson@quinnemanuel.com
Telephone: (510) 725-3000                 Brantley I. Pepperman (Bar No. 322057)
                                          brantleypepperman@quinnemanuel.com
Steve W. Berman (pro hac vice)            865 South Figueroa Street, 10th Floor
 steve@hbsslaw.com                        Los Angeles, CA 90017
1301 Second Avenue, Suite 2000            Telephone: (213) 443-3000
Seattle, WA 98101
Telephone: (206) 623-7292                 Manisha M. Sheth (pro hac vice)
                                          manishasheth@quinnemanuel.com
By /s/ Brian D. Clark                     51 Madison Avenue, 22nd Floor
  LOCKRIDGE GRINDAL NAUEN P.L.L.P.        New York, New York 10010
W. Joseph Bruckner (pro hac vice)         Telephone: (212) 849-7000
 wjbruckner@locklaw.com
Robert K. Shelquist (pro hac vice)        Michelle Schmit (pro hac vice)
 rkshelquist@locklaw.com                   michelleschmit@quinnemanuel.com
Brian D. Clark (pro hac vice)             191 N. Wacker Drive, Suite 2700
 bdclark@locklaw.com                      Chicago, IL 60606
Rebecca A. Peterson (Bar No. 241858)      Telephone: (312) 705-7400
 rapeterson@locklaw.com
Arielle S. Wagner (pro hac vice)          Interim Counsel for the Consumer Class
 aswagner@locklaw.com
Kyle J. Pozan (pro hac vice)
 kjpozan@locklaw.com
Laura M. Matson (pro hac vice)
 lmmatson@locklaw.com
100 Washington Avenue South, Suite 2200
Minneapolis, MN 55401
Telephone: (612) 339-6900




                                          4
Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 5 of 18




  Excerpts of Plaintiffs’
  Document Requests to
       Apple Inc.
      Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 6 of 18



 1   features, policies, or practices, including to third parties or internally for any purpose, whether or
 2   not specifically consented to by users.
 3          16.      As used herein, “Identifiers” refers to the real name, username, email address,
 4   mailing address, User ID, Device ID, Advertising ID (also called IDFA, identifier for advertising),
 5   Cookie ID, IP address, or any other online identifier that is used as a mean of uniquely identifying
 6   a user or device.
 7          17.      Any terms not otherwise defined shall be given their plain and ordinary meanings.
 8                                      DOCUMENT REQUESTS
 9          REQUEST NO. 1:
10          All Documents You produce voluntarily or pursuant to a Subpoena issued by any other
11   Party in the above-captioned action.
12          REQUEST NO. 2:
13          All Documents You produce voluntarily or pursuant to a Subpoena, Civil Investigative
14   Demand, Information Request, or informal request issued by any Party in the action captioned
15   Federal Trade Commission v. Meta Platforms, Inc., 1:20-cv-03590-JEB (D.D.C.) or to the Federal
16   Trade Commission.
17          REQUEST NO. 3:
18          All Documents and Communications relating to Facebook’s User Data Practices or
19   Facebook’s representations regarding its User Data Practices.
20          REQUEST NO. 4:
21          All Documents and Communications relating to Your review, analysis, evaluation, and/or
22   discussion of the following acts or events, including Facebook’s User Data Practices or Facebook’s
23   representations regarding its User Data Practices in connection with those acts or events: (1)
24   Facebook’s News Feed feature; (2) Facebook’s Beacon program; (3) Facebook’s Central Privacy
25   Page; (4) Facebook’s Like button; (5) Facebook’s use of “cookies”; (6) Facebook’s 2009 decision
26   to change users’ default sharing settings to “public”; (7) Facebook’s 2012 settlement with the
27   Federal Trade Commission; (8) Facebook’s announcement (and revocation) of a policy that future
28   changes affecting Facebook’s users’ privacy would require Facebook’s users’ approval through


                                                       5
      Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 7 of 18



 1   voting; (9) Facebook’s View Tags feature; (10) Facebook’s creation of “dossiers” on Facebook
 2   users and non-users; (11) third-parties’ access to Facebook “Affected Friends” and “Friends of
 3   Friends” data; (12) Facebook’s use of users’ and non-users’ geolocation data; (13) Facebook’s use
 4   of users’ and nonusers’ biometric information; (14) Facebook’s use of users’ and nonusers’ contact
 5   information (e.g., telephone numbers); (15) Cambridge Analytica; (16) Facebook’s 2019
 6   settlement with the Federal Trade Commission and the United States Department of Justice; and
 7   (17) Facebook’s access to and provision of data through “whitelisting” and “Preferred Partner”
 8   arrangements.
 9          REQUEST NO. 5:
10          All Documents and Communications relating to the effects of Facebook’s User Data
11   Practices or Facebook’s representations regarding its User Data Practices on competing services
12   in the Social Network Market and Social Media Market.
13          REQUEST NO. 6:
14          All Documents and Communications relating to the origins, intent, purpose, motivations,
15   and/or strategies for Your User Data Practices, including but not limited to the following User
16   Data Practices: (1) App Tracking Transparency; (2) Do-Not-Track privacy setting for Safari,
17   released as part of the Lion Mac OS X operating system; (3) Content Blockers for Safari; (4) Cross-
18   Site Tracking; (5) Intelligent Tracking Prevention (ITP); (6) Hide IP Address; and (7)
19   Fingerprinting Defense.
20          REQUEST NO. 7:
21          All Documents sufficient to identify the number and identity of consumers or users who
22   opted out of being tracked across applications using Apple’s App Tracking Transparency feature1,
23   including whether the consumer or user opted to use this feature on individual apps by selecting
24   “Ask App Not to Track” (and if so, which apps) or as a global setting by turning off “Allow Apps
25   to Request to Track” in Settings.
26

27

28


                                                     6
      Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 8 of 18



 1          REQUEST NO. 8:
 2          All Documents and Communications regarding Facebook’s representations, discussions,
 3   or threats of legal or other punitive action related to Apple’s App Tracking Transparency feature
 4   and other User Data Practices.
 5          REQUEST NO. 9:
 6          All Documents sufficient to identify consumers or users who have opted into or did not opt
 7   out of Apple’s browser privacy features on iOS, iPadOS, MacOS, and any other operating systems
 8   or browsers including but not limited to:
 9          1. Do-Not-Track privacy setting for Safari, released as part of the Lion Mac OS X
10              operating system,
11          2. Content Blockers for Safari,
12          3. Cross-Site Tracking,
13          4. Intelligent Tracking Prevention (ITP),
14          5. Hide IP Address, and
15          6. Fingerprinting Defense.
16          REQUEST NO. 10:
17          All Documents and Communications, including but not limited to notes, calendar entries,
18   and presentation slides, relating to Your meetings with Facebook, including Mark Zuckerberg and
19   Tim Cook’s meeting at the Sun Valley retreat in Idaho in July 2019, regardless of the time they
20   were created.
21          REQUEST NO. 11:
22           All Documents and Communications relating to Your review, analysis, evaluation, and/or
23   discussion of Facebook’s Onavo products (e.g., Onavo Protect, Onavo Bolt App Lock, Onavo
24   Extend), including but not limited to Facebook’s User Data Practices in connection with its Onavo
25   products, Facebook’s representations regarding those practices, and the contemplated or actual
26   availability, maintenance, and/or removal of Facebook’s Onavo products in or from Apple’s App
27   Store and/or Enterprise Certification Program.
28


                                                      7
  Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 9 of 18




   Excerpts of Apple Inc.’s
 Responses and Objections to
Plaintiffs’ Document Requests
          Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 10 of 18



 1 REQUEST FOR PRODUCTION NO. 3:

 2         All Documents and Communications relating to Facebook’s User Data Practices or
     Facebook’s representations regarding its User Data Practices.
 3

 4 RESPONSE TO REQUEST FOR PRODUCTION NO. 3:

 5           Apple objects to Request No. 3 on the grounds that it is overbroad, unduly burdensome, and

 6 not proportionate to the needs of this action, including because (a) Apple is a non-party, (b) the

 7 Request seeks, without limitation, “all documents and communications” relating to an overbroad

 8 topic, and/or (c) the Request seeks documents and communications that are available from

 9 Facebook, which is a party to this litigation. More specifically, it is overbroad and unduly

10 burdensome to demand that a non-party, such as Apple, search for and produce documents

11 concerning Facebook’s practices and representations when any necessary information concerning

12 Facebook’s practices and representations can be obtained from Facebook itself. Further, Apple’s

13 internal documents and communications concerning Apple’s views of Facebook’s practices or

14 representations (if any) are not relevant to any claims or defenses, so Request No. 3 is overbroad

15 and unduly burdensome. Apple also objects to Request No. 3 on the grounds that it is overbroad,

16 unduly burdensome, not proportionate to the needs of this action, and duplicative to the extent that

17 it seeks documents sought by another Request. Apple further objects to Request No. 3 on the

18 grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not proportionate to the

19 needs of this action to the extent that it seeks documents and communications regarding non-U.S.

20 markets. Finally, even with Plaintiffs’ offer2 to limit the Request to: (i) Apple’s internal

21 documents, internal communications, and communications with non-Facebook entities and (ii) a

22 custodial search of eleven Apple executives and employees, the Request remains overbroad and

23 unduly burdensome for the reasons listed above.

24           Subject to and without waiving the foregoing objections, Apple states that it is willing to

25 meet and confer regarding this Request.

26
           2
             On May 20, 2022, Plaintiffs sent Apple a letter in which Plaintiffs offered to limit certain
27 of the Requests. Throughout these Responses, Apple will refer to the limitations proposed in
   Plaintiffs’ May 20, 2022 letter as “Plaintiffs’ offer.”
28
     Responses & Objections Of Apple Inc To Plaintiffs’ Subpoena                       3:20-cv-08570-JD
     To Produce Documents Dated April 11, 2022
          Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 11 of 18



 1 REQUEST FOR PRODUCTION NO. 4:

 2           All Documents and Communications relating to Your review, analysis, evaluation, and/or
     discussion of the following acts or events, including Facebook’s User Data Practices or Facebook’s
 3   representations regarding its User Data Practices in connection with those acts or events: (1)
     Facebook’s News Feed feature; (2) Facebook’s Beacon program; (3) Facebook’s Central Privacy
 4   Page; (4) Facebook’s Like button; (5) Facebook’s use of “cookies”; (6) Facebook’s 2009 decision
     to change users’ default sharing settings to “public”; (7) Facebook’s 2012 settlement with the
 5   Federal Trade Commission; (8) Facebook’s announcement (and revocation) of a policy that future
     changes affecting Facebook’s users’ privacy would require Facebook’s users’ approval through
 6   voting; (9) Facebook’s View Tags feature; (10) Facebook’s creation of “dossiers” on Facebook
     users and non-users; (11) third-parties’ access to Facebook “Affected Friends” and “Friends of
 7   Friends” data; (12) Facebook’s use of users’ and non-users’ geolocation data; (13) Facebook’s use
     of users’ and nonusers’ biometric information; (14) Facebook’s use of users’ and nonusers’ contact
 8   information (e.g., telephone numbers); (15) Cambridge Analytica; (16) Facebook’s 2019 settlement
     with the Federal Trade Commission and the United States Department of Justice; and (17)
 9   Facebook’s access to and provision of data through “whitelisting” and “Preferred Partner”
     arrangements.
10

11 RESPONSE TO REQUEST FOR PRODUCTION NO. 4:

12           Apple objects to Request No. 4 on the grounds that it is overbroad, unduly burdensome, and

13 not proportionate to the needs of this action, including because (a) Apple is a non-party, (b) the

14 Request seeks, without limitation, “all documents and communications” relating to an overbroad

15 topic, and/or (c) the Request seeks documents and communications that are available from

16 Facebook, which is a party to this litigation. More specifically, it is overbroad and unduly

17 burdensome to demand that a non-party, such as Apple, search for and produce documents

18 concerning Facebook’s practices and representations and various “acts or events” involving

19 Facebook when the necessary information can be obtained from Facebook itself. Further, Apple’s

20 internal documents and communications concerning Apple’s review, analysis, evaluation, and/or

21 discussion (if any) of Facebook’s listed acts or events are not relevant to any claims or defenses, so

22 Request No. 4 is overbroad and unduly burdensome. Apple also objects to Request No. 4 on the

23 grounds that is it vague and ambiguous to the extent it seeks documents and communications

24 regarding “Facebook’s News Feed feature,” “Facebook’s Beacon program,” “Facebook’s Central

25 Privacy Page,” “Facebook’s Like button,” “Facebook’s 2012 settlement with the Federal Trade

26 Commission,” “Facebook’s View Tags feature,” “dossiers,” “Affected Friends,” “Friends of

27 Friends,” “Cambridge Analytica,” “Facebook’s 2019 settlement with the Federal Trade

28
     Responses & Objections Of Apple Inc To Plaintiffs’ Subpoena                      3:20-cv-08570-JD
     To Produce Documents Dated April 11, 2022
          Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 12 of 18



 1 Commission and the United States Department of Justice,” “whitelisting,” and “Preferred Partner”

 2 because those terms or phrases are undefined and open to interpretation. Apple further objects to

 3 Request No. 4 on the grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not

 4 proportionate to the needs of this action to the extent that it seeks documents and communications

 5 regarding non-U.S. markets. Finally, even with Plaintiffs’ offer to limit the Request to: (i) Apple’s

 6 internal documents, internal communications, and communications with non-Facebook entities and

 7 (ii) a custodial search of eleven Apple executives and employees, the Request remains overbroad

 8 and unduly burdensome for the reasons listed above.

 9           Subject to and without waiving the foregoing objections, Apple states that it is willing to
10 meet and confer regarding this Request.

11 REQUEST FOR PRODUCTION NO. 5:

12         All Documents and Communications relating to the effects of Facebook’s User Data
   Practices or Facebook’s representations regarding its User Data Practices on competing services in
13 the Social Network Market and Social Media Market.

14 RESPONSE TO REQUEST FOR PRODUCTION NO. 5:

15           Apple objects to Request No. 5 on the grounds that it is overbroad, unduly burdensome, and
16 not proportionate to the needs of this action, including because (a) Apple is a non-party, (b) the

17 Request seeks, without limitation, “all documents and communications” relating to an overbroad

18 topic, and/or (c) the Request seeks documents and communications that are available from

19 Facebook, which is a party to this litigation. More specifically, it is overbroad and unduly

20 burdensome to demand that a non-party, such as Apple, search for and produce documents

21 concerning the effects of Facebook’s practices and representations when the necessary information

22 can be obtained from Facebook itself. Further, Apple’s internal documents and communications

23 relating to Facebook’s practices or representations (if any) are not relevant to any claims or

24 defenses, including because Apple does not operate a “competing service[],” so Request No. 5 is

25 overbroad and unduly burdensome. Apple also objects to Request No. 5 on the grounds that it is

26 vague, ambiguous, overbroad, unduly burdensome, and not proportionate to the needs of this action

27 to the extent that it seeks documents and communications regarding non-U.S. markets. Finally,

28
     Responses & Objections Of Apple Inc To Plaintiffs’ Subpoena                       3:20-cv-08570-JD
     To Produce Documents Dated April 11, 2022
          Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 13 of 18



 1 even with Plaintiffs’ offer to limit the Request to: (i) Apple’s internal documents, internal

 2 communications, and communications with non-Facebook entities and (ii) a custodial search of

 3 eleven Apple executives and employees, the Request remains overbroad and unduly burdensome

 4 for the reasons listed above.

 5           Subject to and without waiving the foregoing objections, Apple states that it is willing to
 6 meet and confer regarding this Request.

 7 REQUEST FOR PRODUCTION NO. 6:

 8         All Documents and Communications relating to the origins, intent, purpose, motivations,
   and/or strategies for Your User Data Practices, including but not limited to the following User Data
 9 Practices: (1) App Tracking Transparency; (2) Do-Not-Track privacy setting for Safari, released as
   part of the Lion Mac OS X operating system; (3) Content Blockers for Safari; (4) Cross-Site
10 Tracking; (5) Intelligent Tracking Prevention (ITP); (6) Hide IP Address; and (7) Fingerprinting
   Defense.
11

12 RESPONSE TO REQUEST FOR PRODUCTION NO. 6:

13           Apple objects to Request No. 6 on the grounds that it is overbroad, unduly burdensome, and

14 not proportionate to the needs of this action, including because (a) Apple is a non-party, (b) the

15 Request seeks, without limitation, “all documents and communications” relating to an overbroad

16 topic, and/or (c) Apple’s User Data Practices are of no (or, at most, minimal) relevance to the

17 claims or defenses in this case. Moreover, even with Plaintiffs’ offer to limit the Request to

18 documents and communications that refer or relate to Facebook, the Request remains overbroad

19 and unduly burdensome for the reasons listed above. Apple further objects to Request No. 6 on the

20 grounds that it is vague and ambiguous to the extent it seeks documents and communications

21 regarding “App Tracking Transparency,” “Do-Not-Track privacy setting for Safari,” “Content

22 Blockers for Safari,” “Cross-Site Tracking,” “Intelligent Tracking Prevention (ITP),” “Hide IP

23 Address,” and “Fingerprinting Defense” because the terms and/or phrases are undefined and open

24 to interpretation. Apple will interpret the terms and/or phrases in accordance with the ways that

25 they are defined and used in the support, developer, and privacy sections of Apple’s websites.3

26
             3
27             See, e.g., https://support.apple.com/en-us/HT212025 (“App Tracking Transparency”);
     https://developer.apple.com/documentation/safariservices/creating_a_content_blocker (“Content
                                                                                                    (cont’d)
28
     Responses & Objections Of Apple Inc To Plaintiffs’ Subpoena                       3:20-cv-08570-JD
     To Produce Documents Dated April 11, 2022
          Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 14 of 18



 1 Apple also objects to Request No. 6 on the grounds that it is vague, ambiguous, overbroad, unduly

 2 burdensome, and not proportionate to the needs of this action to the extent that it seeks documents

 3 and communications regarding non-U.S. markets.

 4           Subject to and without waiving the foregoing objections, Apple is willing to produce
 5 documents sufficient to show the contours of the listed User Data Practices, to the extent such

 6 documents are readily available.

 7 REQUEST FOR PRODUCTION NO. 7:

 8        All Documents sufficient to identify the number and identity of consumers or users who
   opted out of being tracked across applications using Apple’s App Tracking Transparency feature,
 9 including whether the consumer or user opted to use this feature on individual apps by selecting
   “Ask App Not to Track” (and if so, which apps) or as a global setting by turning off “Allow Apps
10 to Request to Track” in Settings.

11 RESPONSE TO REQUEST FOR PRODUCTION NO. 7:

12           Apple objects to Request No. 7 on the grounds that it is overbroad, unduly burdensome, and
13 not proportionate to the needs of this action, including because (a) Apple is a non-party, (b) the

14 requested information is of no (or, at most, minimal) relevance to the claims or defenses in this

15 case, and/or (c) identifying and producing the requested documents would impose an undue burden

16 on Apple. Apple further objects on the grounds that the Request is overly broad, unduly

17 burdensome, vague and ambiguous, including, but not limited to, the extent it requests information

18 regarding the number of consumers or users who opted out of being tracked, the identity of

19 consumers or users who opted out of being tracked, and the method by which those consumers or

20 users opted out of being tracked (including information about consumer opt out across any and all

21 “individual apps”). Apple further objects to this Request to the extent that it seeks materials that, if

22 disclosed, would violate the privacy interests of others. Apple also objects to Request No. 7 on the

23 grounds that it is vague and ambiguous to the extent it seeks documents regarding “App Tracking

24 Transparency,” “Ask App Not to Track,” and “Allow Apps to Request to Track” because the terms

25
   Blockers for Safari”); https://support.apple.com/guide/safari/prevent-cross-site-tracking-
26 sfri40732/mac (“Cross-Site Tracking”); https://www.apple.com/privacy/features/ (“Intelligent
   Tracking Prevention” and “Fingerprinting Defense”);
27 https://support.apple.com/guide/safari/privacy-sfri35610/mac (“Hide IP Address”).
                                                                                                    (cont’d)
28
     Responses & Objections Of Apple Inc To Plaintiffs’ Subpoena                       3:20-cv-08570-JD
     To Produce Documents Dated April 11, 2022
          Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 15 of 18



 1 are undefined and open to interpretation. Apple will interpret the terms in accordance with the

 2 ways that they are defined and used in the support, developer, and privacy sections of Apple’s

 3 websites.4 Apple further objects to Request No. 7 on the grounds that it is vague, ambiguous,

 4 overbroad, unduly burdensome, and not proportionate to the needs of this action to the extent that it

 5 seeks documents regarding non-U.S. markets.

 6           Subject to and without waiving the foregoing objections, Apple states that it is willing to
 7 meet and confer regarding this Request.

 8 REQUEST FOR PRODUCTION NO. 8:

 9         All Documents and Communications regarding Facebook’s representations, discussions, or
   threats of legal or other punitive action related to Apple’s App Tracking Transparency feature and
10 other User Data Practices.

11 RESPONSE TO REQUEST FOR PRODUCTION NO. 8:

12           Apple objects to Request No. 8 on the grounds that it is overbroad, unduly burdensome, and
13 not proportionate to the needs of this action, including because (a) Apple is a non-party, (b) the

14 Request seeks, without limitation, “all documents and communications” relating to an overbroad

15 topic, and/or (c) the Request seeks documents and communications that are available from

16 Facebook, which is a party to this litigation. More specifically, it is overbroad and unduly

17 burdensome to demand that a non-party, such as Apple, search for and produce documents

18 concerning Facebook’s representations, discussions, or threats when the necessary information can

19 be obtained from Facebook itself. Further, Apple’s internal documents and communications

20 regarding Facebook’s representations, discussions, or threats (if any) are not relevant to any claims

21 or defenses, so Request No. 8 is overbroad and unduly burdensome. Apple also objects to Request

22 No. 8 on the grounds that it is vague and ambiguous to the extent it seeks documents and

23 communications regarding “App Tracking Transparency” because the term is undefined and open

24 to interpretation. Apple will interpret the term in accordance with the it is defined and used in the

25 support, developer, and/or privacy sections of Apple’s websites. Apple further objects to Request

26

27           4
             See, e.g., https://support.apple.com/en-us/HT212025 (“Ask App Not to Track” and
     “Allow Apps to Request to Track”).
28
     Responses & Objections Of Apple Inc To Plaintiffs’ Subpoena                       3:20-cv-08570-JD
     To Produce Documents Dated April 11, 2022
          Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 16 of 18



 1 No. 8 on the grounds that it is vague, ambiguous, overbroad, unduly burdensome, and not

 2 proportionate to the needs of this action to the extent that it seeks documents and communications

 3 regarding non-U.S. markets. Apple also objects to Request No. 8 to the extent it seeks documents

 4 and communications that may be protected by the attorney-client privilege, the work product

 5 doctrine, the joint defense doctrine, or any other applicable protection, privilege, or immunity.

 6 Finally, even with Plaintiffs’ offer to limit the Request to: (i) Apple’s internal documents, internal

 7 communications, and communications with non-Facebook entities and (ii) a custodial search of

 8 eleven Apple executives and employees, the Request remains overbroad and unduly burdensome

 9 for the reasons listed above.

10           Subject to and without waiving the foregoing objections, Apple states that it is willing to
11 meet and confer regarding this Request.

12 REQUEST FOR PRODUCTION NO. 9:

13         All Documents sufficient to identify consumers or users who have opted into or did not opt
   out of Apple’s browser privacy features on iOS, iPadOS, MacOS, and any other operating systems
14 or browsers including but not limited to:

15          1.      Do-Not-Track privacy setting for Safari, released as part of the Lion Mac OS X
     operating system,
16
             2.      Content Blockers for Safari,
17
             3.      Cross-Site Tracking,
18
             4.      Intelligent Tracking Prevention (ITP),
19
             5.      Hide IP Address, and
20
             6.      Fingerprinting Defense.
21

22 RESPONSE TO REQUEST FOR PRODUCTION NO. 9:

23           Apple objects to Request No. 9 on the grounds that it is overbroad, unduly burdensome, and
24 not proportionate to the needs of this action, including because (a) Apple is a non-party, (b) the

25 requested information is of no (or, at most, minimal) relevance to the claims or defenses in this

26 case, and/or (c) identifying and producing the requested documents would impose an undue burden

27 on Apple. Apple further objects to Request No. 9 on the grounds that it is overly broad, unduly

28
     Responses & Objections Of Apple Inc To Plaintiffs’ Subpoena                       3:20-cv-08570-JD
     To Produce Documents Dated April 11, 2022
          Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 17 of 18



 1 burdensome, vague and ambiguous, including, but not limited to, the extent it requests information

 2 regarding the identity of consumers or users who opted into or did not opt out of Apple’s browser

 3 privacy features. Apple also objects to Request No. 9 to the extent that it requests materials that, if

 4 disclosed, would violate the privacy interests of others. Apple further objects to Request No. 9 on

 5 the grounds that it is vague and ambiguous to the extent it seeks documents regarding “Do-Not-

 6 Track privacy setting for Safari,” “Content Blockers for Safari,” “Cross-Site Tracking,” “Intelligent

 7 Tracking Prevention (ITP),” “Hide IP Address,” and “Fingerprinting Defense” because the terms

 8 and/or phrases are undefined and open to interpretation. Apple will interpret the terms in

 9 accordance with the ways that they are defined and used in the support, developer, and privacy

10 sections of Apple’s websites. Apple also objects to Request No. 9 on the grounds that it is vague,

11 ambiguous, overbroad, unduly burdensome, and not proportionate to the needs of this action to the

12 extent that it seeks documents regarding non-U.S. markets.

13           Subject to and without waiving the foregoing objections, Apple states that it is willing to
14 meet and confer regarding this Request.

15 REQUEST FOR PRODUCTION NO. 10:

16        All Documents and Communications, including but not limited to notes, calendar entries,
   and presentation slides, relating to Your meetings with Facebook, including Mark Zuckerberg and
17 Tim Cook’s meeting at the Sun Valley retreat in Idaho in July 2019, regardless of the time they
   were created.
18

19 RESPONSE TO REQUEST FOR PRODUCTION NO. 10:

20           Apple objects to Request No. 10 on the grounds that it is overbroad, unduly burdensome,
21 and not proportionate to the needs of this action, including because (a) Apple is a non-party, (b) the

22 Request seeks, without limitation, “all documents and communications” relating to an overbroad

23 topic, (c) the Request seeks information that is likely of no (or, at most, minimal) relevance to the

24 claims or defenses in this case, and/or (d) the Request seeks documents and communications that

25 are available from Facebook, which is a party to this litigation. Apple further objects to Request

26 No. 10 on the grounds that it is overbroad and unduly burdensome to the extent that it seeks

27 documents unknown to Apple, not in the possession, custody, or control of Apple, or not

28
     Responses & Objections Of Apple Inc To Plaintiffs’ Subpoena                       3:20-cv-08570-JD
     To Produce Documents Dated April 11, 2022
          Case 3:20-cv-08570-JD Document 398 Filed 12/15/22 Page 18 of 18



 1 maintained by Apple in the ordinary course of business. Moreover, even with Plaintiffs’ offer to

 2 limit the Request to documents and communications relating to a July 2019 meeting between Tim

 3 Cook and Mark Zuckerberg, the Request remains overbroad and unduly burdensome for the

 4 reasons listed above.

 5           Subject to and without waiving the foregoing objections, Apple states that it is willing to
 6 meet and confer regarding this Request.

 7 REQUEST FOR PRODUCTION NO. 11:

 8        All Documents and Communications relating to Your review, analysis, evaluation, and/or
   discussion of Facebook’s Onavo products (e.g., Onavo Protect, Onavo Bolt App Lock, Onavo
 9 Extend), including but not limited to Facebook’s User Data Practices in connection with its Onavo
   products, Facebook’s representations regarding those practices, and the contemplated or actual
10 availability, maintenance, and/or removal of Facebook’s Onavo products in or from Apple’s App
   Store and/or Enterprise Certification Program.
11

12 RESPONSE TO REQUEST FOR PRODUCTION NO. 11:

13           Apple objects to Request No. 11 on the grounds that it is overbroad, unduly burdensome,
14 and not proportionate to the needs of this action, including because (a) Apple is a non-party, (b) the

15 Request seeks, without limitation, “all documents and communications” relating to an overbroad

16 topic, and/or (c) the Request seeks documents and communications that are available from

17 Facebook, which is a party to this litigation. More specifically, it is overbroad and unduly

18 burdensome to demand that a non-party, such as Apple, search for and produce documents

19 concerning Facebook’s products, practices, and representations when the necessary information

20 concerning Facebook’s products, practices, and representations can be obtained from Facebook

21 itself. Further, Apple’s internal documents and communications regarding Facebook’s products,

22 practices, and representations (if any) are not relevant to any claims or defenses, so Request No. 11

23 is overbroad and unduly burdensome. Apple also objects to Request No. 11 on the grounds that it

24 is vague, ambiguous, overbroad, unduly burdensome, and not proportionate to the needs of this

25 action to the extent that it seeks documents and communications regarding non-U.S. markets.

26 Finally, even with Plaintiffs’ offer to limit the Request to: (i) Apple’s internal documents, internal

27 communications, and communications with non-Facebook entities and (ii) a custodial search of

28
     Responses & Objections Of Apple Inc To Plaintiffs’ Subpoena                       3:20-cv-08570-JD
     To Produce Documents Dated April 11, 2022
